            Case 3:08-cr-05366-BHS         Document 104         Filed 05/08/15    Page 1 of 1




 1
                                UNITED STATES DISTRICT COURT
 2                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 3

 4      UNITED STATES OF AMERICA,                          CASE NO. CR08-5366BHS

 5                         Plaintiff-Respondent,           ORDER DENYING MOTION FOR
                                                           REDUCTION OF SENTENCE
 6               v.

 7      JOSE FREDDY BARRERA,

 8                         Defendant-Movant.

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            This matter comes before the court on Defendant-Movant Jose Freddy Barrera’s
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     (Barrera’s) Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(2). Dkt. # 99. The
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     court has reviewed the motion and the government’s response (Dkt. 103), and finds that because
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     application of the amendments to USSG § 2D1.1 does not result in a reduction in Defendant’s
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     sentence range, and because even if the amendments did apply his sentence is already below that
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     range, Defendant is ineligible for a reduction in sentence under 18 U.S.C. 3582(c)(2) and his
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     motion should be denied. NOW, THEREFORE,
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            IT IS HEREBY ORDERED that Barrera’s Motion to Reduce Sentence Pursuant to 18
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     U.S.C. § 3582(c)(2) is DENIED.
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            Dated this 8th day of May, 2015.




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                                                   BENJAMIN H. SETTLE
22                                                 United States District Judge

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     ORDER - 1
